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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

JAMES HENRY DAVIS, # 267569,                )
                                            )
      Davis,                                )
                                            )         CIVIL ACTION NO.
v.                                          )         2:19-cv-46-WHA-JTA
                                            )                (WO)
CHRISTOPHER GORDY, et al.,                  )
                                            )
      Respondents.                          )

                                       ORDER

      On October 15, 2021, the Magistrate Judge entered a Recommendation that

Petitioner James Henry Davis’s petition for writ of habeas corpus under 28 U.S.C. § 2254

be denied as time-barred under AEDPA’S statute of limitations and that this case be

dismissed with prejudice. (Doc. 16.) Davis has filed Objections to the Recommendation.

(Doc. 17.) Upon an independent review of the record and upon consideration of the

Recommendation and Davis’s Objections, it is ORDERED that:

      (1) Davis’s Objections (Doc. 17) are OVERRULED;

      (2) the Magistrate Judge’s Recommendation (Doc. 16) is ADOPTED; and

      (3) this case is DISMISSED WITH PREJUDICE.

      A separate final judgment will be entered.

      DONE this 3rd day of November, 2021.

                                   /s/  W. Harold Albritton
                                 W. HAROLD ALBRITTON
                                 SENIOR UNITED STATES DISTRICT JUDGE
